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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

GREGORY SHADE,
Plaintiff,
v.
DANIEL PATRICK GORMAN, | individually
and doing business as CHARLIE SEVEN
FILMS, LLC, FRAMEBIRD MEDIA and
CHIP R. BEASLEY,

Defendants,

 

AND RELATED COUNTERCLAIMS

 

 

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CASE NO. 08 CV 03471 (SD

NOTICE AND CONSENT TO
WITHDRAWAL OF COUNSEL

Judge: Hon. Susan Ilston
Dept.: Courtroom 10, 19th Floor

Trial Date: November 2, 2009

Case No. 08 CV 03471 (SI)

NOTICE AND CONSENT TO WITHDRAWAL OF COUNSEL

 
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Case 3:08-cv-03471-SI Document 87 Filed 08/21/09 Page 2 of 2

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD IN THIS ACTION:
ITIS HEREBY STIPULATED AND AGREED, by and between Plaintiff GREGORY
SHADE, and his counsel, the law firm of Sideman & Bancroft, LLP, and its attorneys, may
withdraw from the representation of Plaintiff in any further proceedings with respect to this above-
caption case.
Plaintiff's new contact information is as follows:
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c/o Jeffrey D. Myers, Registered Patent Attorney
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I consent to the above withdrawal. —

By:
GREGORY 2

DATED: June 26, 2009

 

DATED: June 26, 2009 SIDEMAN & BANCROFT LLP

 

CONSTANCE J. YU 7
Attorneys for Plaintiff GREGORY SHADE

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NOTICE AND CONSENT TO WITHDRAWAL OF COUNSEL

 
